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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
______________________________________

DEBORAH LAUFER,
                           Plaintiff,

              v.                                         8:20-cv-1974

FT. MEADE HOSPITALITY, LLC,
                     Defendant.
______________________________________


              MOTION FOR EXTENSION OF TIME TO RESPOND
                 TO DEFENDANT’S MOTION TO DISMISS

      Comes now, counsel for Plaintiff seeking an extension of time to respond to

Defendant’s Motion to Dismiss. At issue is the fact that this Court, on 12/16/2020,

issued an Order to Show Cause regarding Plaintiff’s other cases in this Court.

Plaintiff responded to same on 12/17/2020 (hereinafter, “Plaintiff’s OTSC

response”).    Plaintiff respectfully requests the opportunity to see this Court’s

response to Plaintiff’s OTSC Response prior to preparing and filing a response to

Defendant’s Motion to Dismiss.


      Respectfully submitted,


/s/ Tristan W. Gillespie

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